        Case 1:01-cv-12257-PBS Document 6576 Filed 10/07/09 Page 1 of 3




                                UNITED STATES DISTRICT COURT
                                 DISTRICT OF MASSACHUSETTS

In re: PHARMACEUTICAL INDUSTRY                  )
AVERAGE WHOLESALE PRICE                         )
LITIGATION                                      )        MDL No. 1456
_____________________________________ )                  Civil Action No. 01-12257-PBS
                                                )        Subcategory No. 06-11337
THIS DOCUMENT RELATES TO:                       )
United States of America ex rel. Ven-a-Care of )         Judge Patti Saris
The Florida Keys, Inc., v. Abbott Laboratories, )        Magistrate Judge Marianne Bowler
Inc.,                                           )
CIVIL ACTION NO. 06-11337-PBS                   )




            MOTION BY THE UNITED STATES TO QUASH OUT-OF-TIME
            DEPOSITION NOTICES SERVED BY ABBOTT LABORATORIES
              OR, IN THE ALTERNATIVE, FOR A PROTECTIVE ORDER

       On December 4, 2008, the Magistrate Judge issued oral rulings which allowed defendant

Abbott Laboratories Inc. (Abbott) to depose (1) two employees in CMS’s Office of Legislation

and (2) a witness or witnesses selected by the United States to testify concerning certain Rule

30(b)(6) topics. On September 30, 2009, Abbott served notices which purportedly schedule the

depositions noted above for October 14, 15 and 16, 2009 – that is, over ten months after the

Magistrate Judge’s December 2008 rulings.

       For reasons more fully set forth in the accompanying legal memorandum, the Court should

quash the deposition notices which are untimely, disruptive, and in derogation of scheduling orders

issued by the District Court. In the alternative, the Court should enter a protective ordering barring

the depositions.
      Case 1:01-cv-12257-PBS Document 6576 Filed 10/07/09 Page 2 of 3




Respectfully Submitted,

For the United States of America,

MICHAEL K. LOUCKS                            TONY WEST
ACTING UNITED STATES ATTORNEY                ASSISTANT ATTORNEY GENERAL

                                              /s/ Justin Draycott
George B. Henderson, II                      Joyce R. Branda
Assistant U.S. Attorney                      Daniel R. Anderson
John Joseph Moakley U.S. Courthouse          Renée Brooker
Suite 9200, 1 Courthouse Way                 Justin Draycott
Boston, MA 02210                             Rebecca Ford
Phone: (617) 748-3272                        Civil Division
Fax: (617) 748-3971                          Commercial Litigation Branch
                                             P. O. Box 261
JEFFREY H. SLOMAN                            Ben Franklin Station
ACTING UNITED STATES ATTORNEY                Washington, D.C. 20044
SOUTHERN DISTRICT OF FLORIDA                 Phone: (202) 307-1088
                                             Fax: (202) 307-3852
  /s
Mark A. Lavine
Ann St.Peter-Griffith
Special Attorneys for the Attorney General
99 N.E. 4th Street, 3rd Floor
Miami, FL 33132
Phone: (305) 961-9003
Fax: (305) 536-4101

October 7, 2009




                                             2
        Case 1:01-cv-12257-PBS Document 6576 Filed 10/07/09 Page 3 of 3




                      CERTIFICATE PURSUANT TO LOCAL RULE 7.1

        I hereby certify that I have communicated with counsel for defendant Abbott Laboratories
in an effort to resolve the disputes referred to in this motion, and that the parties have not been able
to narrow or resolve the issues raised therein.

                                                          /s/
                                                       Justin Draycott




                                  CERTIFICATE OF SERVICE

        I hereby certify that I have this day caused an electronic copy of the above UNITED
STATES' MOTION TO QUASH OUT-OF-TIME DEPOSITION NOTICES SERVED BY
ABBOTT LABORATORIES OR, IN THE ALTERNATIVE, FOR A PROTECTIVE ORDER to
be served on all counsel of record via electronic service pursuant to Paragraph 11 of Case
Management Order No. 2 by sending a copy to LexisNexis File & Serve for posting and
notification to all parties.


Date: October 7, 2009
                                                          /s/
                                                       Justin Draycott




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